Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 1 of 13 PageID #: 203




                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

  Le Talley-Ho Construction Co.                                Civil Action No. 15-02420

  versus                                                        Judge Rebecca F. Doherty

  John Deere Construction &                        Magistrate Judge Carol B. Whitehurst
  Forestry Co., et al

                                  ORDER OF REMAND

           Before this Court is a Motion To Remand filed by Plaintiff, Le Talley-Ho

  Construction Company [Rec. Doc. 15] and Defendant, John Deere Construction &

  Forestry Company’s, (“John Deere”) opposition thereto [Rec. Doc. 23]. Having

  reviewed the pleadings, the relevant jurisprudence, the applicable law, and for the

  reasons that follow, the Court will grant Plaintiff’s Motion.

                                        I. Background

           This matter arises out of damages sustained by Plaintiff as a result of a fire to

  a John Deere Excavator purchased by Plaintiff from W.L. Doggett, LLC d/b/a

  Doggett Machinery Services, LLC (“Doggett”), in Broussard, Louisiana. Plaintiff

  alleges the purchase agreement and loan contract were forwarded to its insurance

  agents, Arthur J. Gallagher Risk Management Services, Inc. (“Gallagher”) and Brent

  Romero (“Romero”), in order to add the excavator to Plaintiff’s equipment schedule

  for coverage under its insurance policy issued by Great American Insurance Company
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 2 of 13 PageID #: 204




  of New York (“Great American”).

         On August 15, 2014, during the operation of the excavator, Plaintiff alleges the

  machine “suddenly and without warning” caught fire rendering the excavator useless.

  Plaintiff further alleges Gallagher and Romero were notified of the fire and resulting

  damage and instructed to institute a claim for recovery of damages. Great American’s

  appraiser assessed the damaged excavator and declared it a total loss. On September

  19, 2014, Great American issued correspondence to Plaintiff denying coverage for

  the claim under Plaintiff’s policy.

         On August 14, 2015, Plaintiff filed a Petition for Damages in the Fifteenth

  Judicial District Court, Lafayette Parish, Louisiana, against John Deere, Doggett,

  Gallagher, Romero and Great American. In particular, Plaintiff asserted the following

  claims: (1) redhibition, pursuant to La. C.C.P. art. 2520, et seq., breach of contract,

  breach of warranties and negligence against John Deere and Doggett; (2) “breach of

  duties”1 against Gallagher and Romero; and, (3) breach of contract against Great

  American. John Deere filed a Notice of Removal on September 25, 2015 asserting

  that this Court has diversity jurisdiction under 28 U.S.C. § 1332(a) and § 1441. In the

  Removal Notice, John Deere acknowledged that Romero is a resident of Louisiana


     1
       Although Plaintiff did not state with specificity the alleged claims against Gallagher and
  Romero, the Court notes La.Rev.Stat. § 9:5606(A), which provides the time lines for filing an
  action for damages against any insurance agent or broker states in part, “whether based upon tort,
  or breach of contract, or otherwise, arising out of an engagement to provide insurance services.”

                                                  2
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 3 of 13 PageID #: 205




  and is therefore non-diverse, but argued that because Plaintiff’s claims against

  Romero, one of the insurance defendants, were “fraudulently misjoined” with

  Plaintiff’s claims against John Deere and Doggett, the “Redhibition Defendants,”

  Plaintiff’s Petition is removable on the basis of diversity jurisdiction.

                              II. Contentions of the Parties

        On October 28, 2015, Plaintiff filed this Motion to Remand asserting that John

  Deere’s removal under 28 USC 1332(a), diversity jurisdiction, is improper as

  defendant Romero is a Louisiana resident. Plaintiff contends that John Deere bases

  its removal on “a court-invented principle,” fraudulent misjoinder, an 11th Circuit

  concept which has not been adopted or applied by the 5th Circuit. Plaintiff further

  argues that, even if this Court considers fraudulent misjoinder to permit removal

  based on diversity jurisdiction, John Deere can not meet the heavy burden to

  demonstrate that the joinder of the defendants by Plaintiff was “egregious.”

        John Deere initially argues that because Plaintiff’s Motion was filed 33 days

  after the Notice of Removal was filed and is not based on the Court’s subject matter

  jurisdiction, it is untimely. Alternatively, John Deere contends that this Court should

  recognize the doctrine of fraudulent misjoinder and find that the non-diverse

  defendant, Romero—an insurance defendant, is improperly joined with the

  “Redhibition Defendants” and deny the Motion.


                                             3
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 4 of 13 PageID #: 206




                                 III. Law and Analysis

  Timeliness Of The Motion To Remand

        Once a civil action is removed to federal court, a plaintiff may challenge the

  removal by filing a motion to remand pursuant to 28 U.S.C. § 1447(c). A party may

  only make a motion to remand on the basis of any defect other than lack of subject

  matter jurisdiction within thirty days after the filing of the notice of removal under

  section 1446(b). See 28 U.S.C. § 1447(c). Any defect that does not involve the

  question of whether the case originally could have been brought in federal district

  court is merely a defect in removal procedure, rather than jurisdictional defect. See

  Baris v. Sulpicio Lines, Inc., 932 F.2d 1540, 1544 (5th Cir.1991).

        John Deere attempts to argue that Plaintiff does not dispute “there is complete

  diversity ... between Plaintiff and the Redhibition Defendants,” but rather “challenges

  whether it has fraudulently misjoined the action.” R. 23. Thus, John Deere contends

  because Plaintiff’s Motion is not based on subject matter jurisdiction and was filed

  more than 30 days after removal, it must be dismissed as untimely. John Deere’s

  argument is wholly disingenuous. Plaintiff’s Motion to Remand specifically questions

  this Court’s subject matter jurisdiction over the state action—an issue that may be

  raised at any time. See 28 U.S.C. § 1447(c); Giles v. NYLCare Health Plans, Inc., 172

  F.3d 332, 336 (5th Cir.1999). This Court must therefore consider whether it has


                                            4
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 5 of 13 PageID #: 207




  subject matter jurisdiction over the removed action, cognizant that “[a]ny ambiguities

  are construed against removal because the removal statute should be strictly

  construed in favor of remand.” See Barker v. Hercules Offshore, Inc., 713 F.3d 208,

  212 (5th Cir.2013).

  Removal and Diversity Jurisdiction

        “Federal courts are courts of limited jurisdiction. We must presume that a suit

  lies outside this limited jurisdiction, and the burden of establishing federal

  jurisdiction rests on the party seeking the federal forum.” Howery v. Allstate Ins. Co.,

  243 F .3d 912, 916 (5th Cir.2001). Here, the removing defendant has not met its

  burden. Accordingly, this Court lacks diversity jurisdiction and remand is required.

        The removal statute provides in pertinent part:

        Any civil action of which the district courts have original jurisdiction
        founded on a claim or right arising under the Constitution, treaties or
        laws of the United States shall be removable without regard to the
        citizenship or residence of the parties. Any other such action shall be
        removable only if none of the parties in interest properly joined and
        served as defendants is a citizen of the State in which such action is
        brought.

  28 U.S.C. § 1441(b). In cases which are removed based on diversity, it is axiomatic

  that no defendant may be a citizen of the forum state. 28 U.S.C. § 1441(b);

  Caterpillar Inc. v. Lewis, 117 S.Ct. 467, 469, 473 (1996). Thus, when there is a single

  defendant who is a citizen of the forum state present, removal on the basis of diversity


                                             5
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 6 of 13 PageID #: 208




  jurisdiction is barred. Id. Similarly, in a case with multiple plaintiffs and/or multiple

  defendants, complete diversity is required. Id.; Exxon v. Allapattah, 545 U.S. 546,

  552 (2005). Moreover, in diversity cases, a single non-diverse party “destroys original

  jurisdiction with respect to all claims” in the action. Id. at 554. An exception to the

  rule of complete diversity applies when a non-diverse defendant is improperly joined

  in order to defeat the court’s diversity jurisdiction.

        It is undisputed that Plaintiff is a citizen of Louisiana and that defendant

  Romero is a Louisiana citizen. It is also undisputed that the removing defendant, John

  Deere, is a diverse defendant. John Deere contends the presence of the non-diverse

  defendant, Romero, should be disregarded because he was “fraudulently misjoined.”

  Improper or Fraudulent Joinder (or Misjoinder)

        As the party invoking this Court’s jurisdiction, John Deere bears the burden of

  establishing federal subject matter jurisdiction. Dodson v. Spiliada Maritime Corp.,

  951 F.2d 40, 42 (5th Cir.1992). The Fifth Circuit has recognized two ways for the

  removing party to establish improper or fraudulent joinder: “actual fraud in the

  pleading of jurisdictional facts,” or an “inability of the plaintiff to establish a cause

  of action against the non-diverse defendant.” Ross v. Citifinancial, Inc., 344 F.3d 458,

  461 (5th Cir. 2003). The removing party’s burden of proving improper joinder is

  “heavy.” McDonald v. Abbott Laboratories, 408 F.3d 177, 183 (5th Cir.2005). Here,


                                             6
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 7 of 13 PageID #: 209




  John Deere does not contend that there was any fraud in the pleading of jurisdictional

  facts nor does John Deere contend that Plaintiff has no reasonable basis for recovery

  against the other defendants. Thus, John Deere has failed to carry its burden under

  either of the two methods for establishing improper joinder recognized by the Fifth

  Circuit.

          Instead, John Deere argues that under the analysis set forth in Tapscott v. MS

  Dealer Service Corp., Romero was improperly “misjoined” with the “Redhibition

  Defendants,” and his citizenship should be disregarded in a diversity jurisdiction

  determination. Id., 77 F.3d 1353, 1360 (11th Cir.1996), abrogated on other grounds

  by Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir.2000). In Tapscott, the

  Eleventh Circuit found that fraudulent joinder can exist when a diverse defendant is

  joined with a nondiverse defendant as to whom there is no joint, several or alternative

  liability, and when the claim against the diverse defendant has no real connection to

  the claim against the nondiverse defendant. Id. at 1360. The court identified this

  scenario as a third type of fraudulent joinder in addition to the two identified by the

  Fifth Circuit. See, Ross, 344 F.3d at 461. Specifically, the Eleventh Circuit held that

  “egregious” misjoinder, but not “mere” misjoinder, of parties that have no real

  connection with each other can constitute fraudulent joinder. Tapscott, 77 F.3d at

  1360.


                                             7
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 8 of 13 PageID #: 210




         Although the Fifth Circuit has not adopted the theory of “fraudulent

  misjoinder,” it has mentioned the theory in a few cases. In re Benjamin Moore & Co.,

  the Fifth Circuit stated, without holding, that the fraudulent misjoinder of plaintiffs

  should not be allowed to defeat diversity jurisdiction. 318 F.3d 626, 630-31 (5th

  Cir.2002). However, in Smallwood v. Illinois Central Railroad Co., an en banc Fifth

  Circuit decision that post-dates Benjamin Moore, the Fifth Circuit identified only two

  methods of establishing improper joinder, actual fraud in the pleading of

  jurisdictional facts and the inability of the plaintiffs to plead a cause of action against

  the non-diverse defendants in state court. 385 F.3d 568, 573 (5th Cir.2004). There is

  no mention of Tapscott improper joinder as an acceptable method of establishing

  improper joinder in Smallwood. Instead, it clearly stated that “we have recognized

  two ways to establish improper joinder: (1) actual fraud in the pleading of

  jurisdictional facts, or (2) inability of the plaintiff to establish a cause of action

  against the non-diverse party in state court.” Id.

         In the most recent case, Crockett v. R.J. Reynolds Tobacco Co., the Fifth

  Circuit reiterated that statement from Smallwood and distinguished the Tapscott

  “egregious misjoinder” from improper joinder. 436 F.3d 529, 532 (5th Cir.2006). The

  Crockett court stated:

         A party, however, can be improperly joined without being fraudulently
         joined. Under federal law, defendants are properly joined if (1) “there is

                                              8
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 9 of 13 PageID #: 211




        asserted against them jointly, severally, or in the alternative, any right
        to relief in respect of or arising out of the same transaction, occurrence,
        or series of transactions or occurrences” and (2) “any question of law or
        fact common to all defendants will arise in the action.” Fed.R.Civ.P.
        20(a). Texas has adopted the same requirements for proper joinder. See
        Tex.R. Civ. P. 40(a). If these requirements are not met, joinder is
        improper even if there is no fraud in the pleadings and the plaintiff does
        have the ability to recover against each of the defendants.

        The above statement, which is followed by a citation to Tapscott, does not

  indicate that “egregious misjoinder” under Tapscott should be classified as a third

  type of improper joinder as John Deere suggests; to the contrary, it recognizes that

  what was described in Tapscott, i.e. improper joinder under the state law for

  permissive joinder, is different from what was traditionally known as fraudulent

  joinder. As the court held in Creadeur v. Atlantic Richfield Co.,

        The Fifth Circuit had the opportunity, in deciding Crockett, to expressly
        and specifically address whether Tapscott’s “egregious misjoinder” was
        a form of improper joinder, and the Court did not do so, choosing
        instead to reiterate that it recognizes only two ways in which fraudulent
        joinder can be established. As Crockett remains the Fifth Circuit’s most
        recent reference to the Tapscott decision, this Court is constrained to
        follow that jurisprudence.

  2014 WL 2999261, at *6 (W.D.La.,2014). This Court agrees that the Fifth Circuit

  jurisprudence has not recognized Tapscott fraudulent misjoinder as the basis for John

  Deere’s removal of this action.

        But even assuming arguendo that such fraudulent misjoinder would allow John

  Deere to seek relief, any misjoinder here does not constitute improper joinder under

                                            9
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 10 of 13 PageID #: 212




  Tapscott. Under Tapscott, “fraudulent misjoinder” is said to exist when (1) a

  defendant has been misjoined with other defendants in violation of applicable joinder

  rules; and (2) the misjoinder is so egregious as to constitute fraudulent joinder.

  Tapscott, 77 F.3d at 1360. John Deere argues the Court should apply Louisiana state

  joinder rules as the applicable joinder rule in this case. The district courts within the

  Fifth Circuit which have applied the Tapscott analysis differ on whether federal or

  state rules of joinder apply in a Tapscott analysis. See e.g. Henley v. Meyer, 2015 WL

  224369, at *4 (N.D.Tex.,2015) (court applied state joinder rule); Accardo v. Lafayette

  Insurance Co., 2007 WL 325368 at *4; Millet v. Liberty Mutual Ins. Co., 2008 WL

  147821 (E.D.La.2008)(courts applied state joinder rules in determining whether

  joinder was proper); Akshar, 2010 WL 3025018; Defourneaux v. Metropolitan

  Property and Casualty Insurance Company, 2006 WL 2524165 at *1 (court applied

  joinder analysis under Fed. Rule Civ. P. 20 in determining whether joinder was

  proper).

        Thus, the law of the Fifth Circuit is unsettled as to whether the “fraudulent

  misjoinder” theory is applicable to establish diversity jurisdiction and as to which

  standard, Fed. Rule Civ. P. 20 or state joinder rules, are applicable in the Tapscott

  analysis. One thing is settled, however, and that is even if the Court were to find that

  Plaintiff’s claims were improperly joined under either federal or state joinder rules,


                                             10
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 11 of 13 PageID #: 213




  the Court also must find that the misjoinder was so egregious as to warrant a finding

  of fraudulent misjoinder. Akshar, at *3 (citing Tapscott, 77 F .3d at 1360).

         In Tapscott, the Eleventh Circuit held “fraudulent misjoinder” or “procedural

  misjoinder” occurs when the disjoined parties and claims are “wholly distinct” and

  “have no real connection” to each other, such that their joinder is “bordering on a

  sham.” 77 F.3d at 1360 (“A defendant’s ‘right of removal cannot be defeated by a

  fraudulent joinder of a resident defendant having no real connection with the

  controversy.’ ”). Other courts have held that misjoinder is not “egregious” unless “the

  connection between the claims against the individual parties is so tenuous that

  disregarding the citizenship of the joined parties is just,” or “when there is no

  ‘palpable connection’ between the claims and the parties joined.” Lundquist v. J &

  J Exterminating, Inc., 2008 WL 1968339 (W.D.La. May 2, 2008); see also, Texas

  Instruments Inc. v. Citigroup Global Markets, Inc., 266 F.R.D. 143 (N.D.Tex.2010)

  (and cases cited therein); Akshar 6, L.L.C. v. Travelers Cas. & Sur. Co. of America,

  2010 WL 3025018, at *4 (W.D.La.,2010).

        Here, all of the claims asserted by Plaintiff against the insurance defendants,

  including Romero, arise out of the same factual circumstances as its claims against

  the “Redhibition Defendants,” and Plaintiff’s claim for damages is against all

  defendants for the damages sustained as a result of the loss of the John Deere


                                            11
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 12 of 13 PageID #: 214




  Excavator. While there may be distinct legal issues involved, e.g. some defendants

  may be liable in tort and others in contract, there are significant common factual and

  legal issues that must be decided with respect to all claims against all defendants.

  Compare Tapscott, 77 F.3d 1353 (claims against twenty-two named defendants for

  state law violations arising from sales of service contracts on automobiles had “no

  real connection” to claim against three additional defendants for state law violations

  arising from sales of extended service contracts for retail products); Accardo v.

  Lafayette Ins. Co., 2007 WL 325368 (E.D.La. Jan.30, 2007) (where eighteen

  individual homeowners sued various insurance companies for breach of contract and

  bad faith after suffering damage to their homes as a consequence of Hurricane Katrina

  and/or Hurricane Rita, the district court determined each plaintiff was uniquely

  situated and that the lawsuit was most properly viewed as eighteen separate actions,

  each with its own particular facts). Thus, even assuming that Tapscott fraudulent

  misjoinder applies to John Deere’s removal of this matter, John Deere cannot

  establish that any misjoinder is so egregious as to warrant a finding of fraudulent

  misjoinder.

                                     IV. Conclusion

        For the foregoing reasons, the Court finds that John Deere has failed to meet

  its burden to establish that this action was properly removed to this Court under 28


                                           12
Case 6:15-cv-02420-RFD-CBW Document 24 Filed 11/19/15 Page 13 of 13 PageID #: 215




  U.S.C. § 1332. The Court will therefore grant Plaintiff’s Motion To Remand.

        IT IS ORDERED that Plaintiff’s Motion To Remand [Rec. Doc. 15] is

  GRANTED, and this matter is hereby REMANDED to the 15th Judicial District

  Court of the State of Louisiana.

        This Order shall be STAYED for fourteen days from the date of issuance. Any

  appeal to the District Judge must be filed within fourteen days from the date of this

  Order. If an appeal is taken to the District Judge, the Order shall remain stayed until

  the appeal is decided. If no timely appeal is filed, the clerk shall remand the action

  forthwith.

        Thus done and signed this 19th day of November, 2015 at Lafayette, Louisiana.




                                            13
